Case 3:06-cv-02540-TEH Document 145 Filed 07/11/08 Page 1 of 21
Case 3:06-cv-02540-TEH Document 145 Filed 07/11/08 Page 2 of 21
Case 3:06-cv-02540-TEH Document 145 Filed 07/11/08 Page 3 of 21
Case 3:06-cv-02540-TEH Document 145 Filed 07/11/08 Page 4 of 21
Case 3:06-cv-02540-TEH Document 145 Filed 07/11/08 Page 5 of 21
Case 3:06-cv-02540-TEH Document 145 Filed 07/11/08 Page 6 of 21
Case 3:06-cv-02540-TEH Document 145 Filed 07/11/08 Page 7 of 21
Case 3:06-cv-02540-TEH Document 145 Filed 07/11/08 Page 8 of 21
Case 3:06-cv-02540-TEH Document 145 Filed 07/11/08 Page 9 of 21
Case 3:06-cv-02540-TEH Document 145 Filed 07/11/08 Page 10 of 21
Case 3:06-cv-02540-TEH Document 145 Filed 07/11/08 Page 11 of 21
Case 3:06-cv-02540-TEH Document 145 Filed 07/11/08 Page 12 of 21
Case 3:06-cv-02540-TEH Document 145 Filed 07/11/08 Page 13 of 21
Case 3:06-cv-02540-TEH Document 145 Filed 07/11/08 Page 14 of 21
Case 3:06-cv-02540-TEH Document 145 Filed 07/11/08 Page 15 of 21
Case 3:06-cv-02540-TEH Document 145 Filed 07/11/08 Page 16 of 21
Case 3:06-cv-02540-TEH Document 145 Filed 07/11/08 Page 17 of 21
Case 3:06-cv-02540-TEH Document 145 Filed 07/11/08 Page 18 of 21
Case 3:06-cv-02540-TEH Document 145 Filed 07/11/08 Page 19 of 21
Case 3:06-cv-02540-TEH Document 145 Filed 07/11/08 Page 20 of 21
Case 3:06-cv-02540-TEH Document 145 Filed 07/11/08 Page 21 of 21




                                                  ISTRIC
  07/11/08                                   TES D      TC
                                           TA




                                                                          O
                                      S




                                                                           U
                                     ED




                                                                            RT
                                 UNIT




                                                                                R NIA
                                                                    Henderson
                                 NO




                                                     e T h elton E.




                                                                                FO
                                           J   u d g
                                   RT




                                                                            LI
                                          ER
                                     H




                                               N                 F        AC
                                                   D IS T IC T O
                                                         R
